244 F.2d 719
    Henry C. GRUEMMER, Appellant,v.UNITED STATES of America.
    No. 15797.
    United States Court of Appeals Eighth Circuit.
    May 13, 1957.
    
      Appeal from the United States District Court, for the Southern District of Iowa.
      Martin F. McCarthy and Stephen A. Hart, Jr., Davenport, Iowa, for appellant.
      Roy L. Stephenson, U. S. Atty., and John C. Stevens, Asst. U. S. Atty., Des Moines, for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court docketed and dismissed, on motion of appellee.
    
    